              IN THE DISTRICT COURT OF THE UNITED STATES
                  EASTERN DISTRICT OF PENNSYLVANIA
 MICHAEL MILLER
 Plaintiff,
                                              Civ. No.: 5:24-cv-05338-JFL
 v.
                                              Judge Joseph F. Leeson, Jr.
 COUNTY OF LANCASTER, et al.,

 Defendants.

      [PROPOSED] ORDER GRANTING PLAINTIFF’S EMERGENCY
              MOTION FOR VACATUR OF DISMISSAL
AND NOW, this ___ day of __________, 2025, upon consideration of Plaintiff

Michael Miller’s Emergency Motion for Vacatur of Dismissal Pursuant to 28

U.S.C. § 1651 and for Correction of Procedural Errors in Violation of Rules

12(b)(1) and 12(b)(6) (the “Motion”), and any opposition thereto, and for good

cause shown, IT IS HEREBY ORDERED that:

   1. Plaintiff’s Motion is GRANTED.

   2. The Court’s Order of Dismissal (Doc. 36) is VACATED as it was issued in

      violation of binding procedural law and is therefore legally void.

   3. Defendants’ Motion to Dismiss shall be reconsidered under the correct legal

      framework, ensuring compliance with:

      a. Rule 12(b)(1) – The Court shall treat Defendants’ motion as a facial

      jurisdictional challenge, accepting Plaintiff’s allegations as true and

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   refraining from judicial fact-finding or reliance on extraneous materials.

   b. Rule 12(b)(6) – The Court shall:

   i. Disregard legal conclusions, including those asserted by the Court.

   ii. Accept well-pleaded factual allegations as true without requiring

   evidentiary proof.

   iii. Apply the correct plausibility standard, without imposing a heightened

   burden of proof at the motion-to-dismiss stage.

   c. Rule 12(d) – If the Court considers materials outside the pleadings, it must

   provide notice and convert the motion to summary judgment, ensuring

   compliance with Rule 56 and binding Third Circuit precedent.

4. The Court shall issue findings of fact and conclusions of law addressing the

   procedural errors identified in Plaintiff’s Motion, including:

   a. The Court’s improper reliance on factual and legal determinations outside

   the complaint in a facial Rule 12(b)(1) challenge, contrary to Constitution

   Party of Pa. v. Aichele, 757 F.3d 347 (3d Cir. 2014).

   b. The failure to apply the correct two-step plausibility standard required by

   Twombly and Iqbal, leading to an improper demand for evidentiary proof at

   the pleading stage.

   c. The improper use of Plaintiff’s own exhibits to contradict well-pleaded

   allegations, in violation of Doe v. Princeton Univ., 30 F.4th 335 (3d Cir.

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      2022).

      d. The failure to convert the motion to summary judgment despite relying on

      extraneous materials, in violation of Rule 12(d) and Bruni v. City of

      Pittsburgh, 824 F.3d 353, 361-62 (3d Cir. 2016).

   5. The Court shall grant any further relief deemed just and appropriate,

      including issuing corrective orders to remedy procedural irregularities that

      have prejudiced Plaintiff’s ability to fairly litigate his claims.

IT IS SO ORDERED.

BY THE COURT:




Hon. Joseph F. Leeson, Jr.

United States District Judge




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